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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 UNITED STATES OF AMERICA,


 vs.                                            CASE NO. 8:03-CR-226-T-17-MSS


 DEMETRIUS MCLAUGHLIN
                                         /

                                              ORDER

        This cause comes before the Court on the defendant’s pro se Motion for New Trial and/or
 Evidentiary Hearing Pursuant to Fed.R.Crim.Pro. Rule 33, Newly Discover (sic) Evidence in
 Compliance with Brady and Giglio Violation (Docket No. 312), response thereto (Docket No.
 324), defendant’s pro se Motion for Discovery and Inspection Pursuant to Rule 16 of the
 Fed.R.Crim.Pro. in Support of Motion for New Trial in Compliance with Rule 33 (Docket No.
 314), and response thereto (Docket No.325). The Court finds the responses to be persuasive and
 they are incorporated herein. Accordingly, it is.


        ORDERED that defendant’s pro se Motion for New Trial and/or Evidentiary Hearing
 Pursuant to Fed.R.Crim.Pro. Rule 33, Newly Disover (sic) Evidence in Compliance with Brady
 and Giglio Violation (Docket No. 312) and defendant’s pro se Motion for Discovery and
 Inspection Pursuant to Rule 16 of the Fed.R.Crim.Pro. in Support of Motion for New Trial in
 Compliance with Rule 33 (Docket No. 314) be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 20th day of April, 2007.
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 Copies furnished to: All Counsel of Record
